                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE



  CHRISTIAN SEUS,                                  )
       Plaintiff,                                  )
                                                   )
  v.                                               )      No. 3:11-CV-237
                                                   )      Phillips
  KOHLER CO.,                                      )
  BRIGGS & STRATTON CORPORATION,                   )
  AMERICAN HONDA MOTOR COMPANY,                    )
  TECUMSEH PRODUCTS COMPANY,                       )
  DEERE & COMPANY,                                 )
                                                   )
          Defendants.                              )


                        JUDGMENT ON DECISION BY THE COURT

                This case came before the court on the motions to dismiss filed by

  defendants. The Honorable Thomas W. Phillips, United States District Judge, having

  rendered a decision on the defendants’ motions,

                IT IS ORDERED AND ADJUDGED that the plaintiff Christian Seus take

  nothing, that the action be DISMISSED WITH PREJUDICE on the merits, and that the

  defendants recover of the plaintiff Christian Seus their costs of action.

                Dated at Knoxville, Tennessee, this _____ day of March, 2012.



                                            ENTER:

       ENTERED AS A JUDGMENT                       s/ Thomas W. Phillips
          s/ Debra C. Poplin                     United States District Judge
         CLERK OF COURT




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